    JS 44 (Rev. 10/20)               Case 2:21-cv-00455-CMR
                                                       CIVILDocument
                                                             COVER 1SHEET
                                                                      Filed 02/01/21 Page 1 of 13
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                          DEFENDANTS
                                                                                                               Boro Developers, Inc. d/b/a Boro Construction and Liberty
             Vollers Excavating & Construction, Inc.
                                                                                                               Mutual Insurance Company
       (b) County of Residence of First Listed Plaintiff           Somerset. NJ                                County of Residence of First Listed Defendant             ________________________
                                    (EXCEPTIN US. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

       (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
             Matthew L. Erlanger, Esq.(306855), Cohen Seglias
             1600 Market St., 32n FI., Philadelphia, PA 19103
             (2151 564-1700_______________________________
    II, BASIS OF JURISDICTION (Place an "X" in One Box Only)                                      III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                         and One Boxfor Defendant)
|     11   U.S. Government             |   [3   Federal Question                                                                     PTE  DEE                                    PTE     DEE
              Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State         | 1 1 Q 1 Incorporated or Principal Place    □ 4 D4
                                                                                                                                                of Business In This State

1     12   U.S. Government             |X14     Diversity                                             Citizen of Another State          | 12   HH 2     Incorporated and Principal Place      [x] ^    [x]5
              Defendant                           (Indicate Citizenship ofParties in Item III)                                                            of Business In Another State

                                                                                                      Citizen or Subject of a           [ 13   Q 3      Foreign Nation                        □ 6 □«
                                                                                                        Foreign Country
    IV■ NATURE OF SUIT (Place an "X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
              CONTRACT                                            TORTS                                 FORFEITURE/PENALTY                       BANKRUPTCY               OTHER STATUTES
   110 Insurance
   120 Marine
   130 Miller Act                     3
                                         PERSONAL INJURY
                                         310 Airplane
                                         315 Airplane Product
                                                                        PERSONAL INJURY
                                                                   Q 365 Personal Injury -
                                                                            Product Liability
                                                                                                       1625 Drag Related Seizure
                                                                                                            of Property 21 USC 881
                                                                                                      □ 690 Other
                                                                                                                                          E    422 Appeal 28 USC 158
                                                                                                                                               423 Withdrawal
                                                                                                                                                   28 USC 157
                                                                                                                                                                           E     375 False Claims Act
                                                                                                                                                                                 376 Qui Tam (31 USC
                                                                                                                                                                                     3729(a))
   140 Negotiable Instrument                  Liability            | 1 367 Health Care/                                                                                          400 State Reapportionment
   150 Recovery of Overpayment         | 320 Assault, Libel &               Pharmaceutical                                                    PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment              Slander                       Personal Injury                                                 _ 820 Copyrights                     430 Banks and Banking

B  151 Medicare Act
   152 Recovery of Defaulted
                                       | 330 Federal Employers’
                                              Liability
                                                                            Product Liability
                                                                   [ 1 368 Asbestos Personal
                                                                                                                                            _ 830 Patent
                                                                                                                                            _ 835 Patent - Abbreviated
                                                                                                                                                                                 450 Commerce
                                                                                                                                                                                 460 Deportation
        Student Loans
        (Excludes Veterans)
| 1153 Recovery of Overpayment
                                      3  340 Marine
                                         345 Marine Product
                                              Liability
                                                                             Injury Product
                                                                             Liability
                                                                     PERSONAL PROPERTY                           LABOR
                                                                                                                                                   New Drug Application
                                                                                                                                           [ | 840 Trademark
                                                                                                                                           | | 880 Defend Trade Secrets      |
                                                                                                                                                                                 470 Racketeer Influenced and
                                                                                                                                                                                     Corrupt Organizations
                                                                                                                                                                                 480 Consumer Credit
       of Veteran’s Benefits
 _ 160 Stockholders’ Suits
 X 190 Other Contract
                                      3  350 Motor Vehicle
                                         355 Motor Vehicle
                                             Product Liability
                                                                    _ 370 Other Fraud
                                                                    _ 371 Truth in Lending
                                                                    _ 380 Other Personal
                                                                                                      _[710 Fair Labor Standards
                                                                                                            Act
                                                                                                      □ 720 Labor/Management
                                                                                                                                                   Act of 2016

                                                                                                                                                SOCIAL SECURITY
                                                                                                                                                                             |
                                                                                                                                                                                     (15 USC 1681 or 1692)
                                                                                                                                                                                 485 Telephone Consumer
                                                                                                                                                                                     Protection Act
 _ 195 Contract Product Liability
   196 Franchise
                                       | 360 Other Personal
                                             Injury
                                       | 362 Personal Injury -
                                                                            Property Damage
                                                                   [ 1 385 Property Damage
                                                                            Product Liability         3
                                                                                                            Relations
                                                                                                        740 Railway Labor Act
                                                                                                        751 Family and Medical
                                                                                                                                               861 FQA (1395ff)
                                                                                                                                               862 Black Lung (923)
                                                                                                                                               863 DIWC/DIWW (405(g))
                                                                                                                                                                           3     490 Cable/Sat TV
                                                                                                                                                                                 850 Securities/Commodities/
                                                                                                                                                                                     Exchange
                                             Medical Malpractice                                            Leave Act                          864 ssm Title XVI                 890 Other Statutory Actions
          REAL PROPERTY                    CIVIL RIGHTS              PRISONER PETITIONS               _1790 Other Labor Litigation             865 RSI (405(g))                  891 Agricultural Acts
      210 Land Condemnation           _ 440 Other Civil Rights          Habeas Corpus:                □ 791 Employee Retirement                                                  893 Environmental Matters
      220 Foreclosure                 □ 441 Voting                  □ 463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                   895 Freedom of Information
      230 Rent Lease & Ejectment      _ 442 Employment                | 510 Motions to Vacate                                              □ 870 Taxes (U.S. Plaintiff               Act
      240 Torts to Land
      245 Tort Product Liability
      290 All Other Real Property
                                      _ 443 Housing/
                                             Accommodations
                                                                            Sentence
                                                                    _ 530 General
                                      □ 445 Amer, w/Disabilities - _ 535 Death Penalty                       IMMIGRATION
                                                                                                                                                  or Defendant)
                                                                                                                                           □ 871 IRS—Third Party
                                                                                                                                                  26 USC 7609
                                                                                                                                                                           3     896 Arbitration
                                                                                                                                                                                 899 Administrative Procedure
                                                                                                                                                                                     Act/Review or Appeal of
                                             Employment                 Other:                          1462 Naturalization Application                                    _         Agency Decision
                                      □ 446 Amer. w/Disabilities - _ 540 Mandamus & Other               1465 Other Immigration                                             □     950 Constitutionality of
                                             Other                  _ 550 Civil Rights                       Actions                                                                 State Statutes
                                       | 448 Education              _ 555 Prison Condition
                                                                    □ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
    V. ORIGIN (Place an “X” in One Box Only)
[x| 1 Original
        Proceeding
                   | |2 Removed from
                          State Court
                                                           □3        Remanded from
                                                                     Appellate Court
                                                                                                 | 14 Reinstated or
                                                                                                      Reopened
                                                                                                                        Q 5 Transferred from
                                                                                                                            Another District
                                                                                                                                                       Q 6 Multidistrict
                                                                                                                                                           Litigation -
                                                                                                                                                                                      | | 8 Multidistrict
                                                                                                                                                                                            Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28U.S.C. 1332
    VI. CAUSE OF ACTION                    Brief description of cause:
                                           Breach of construction contract, violation of Pennsylvania Commonwealth Procurement Code, breach of obligations under a payment bond
    VII. REQUESTED IN     □ CHECK IF TfflS IS A CLASS ACTION                                              DEMANDS                                   CHECK YES only if demanded in complaint:
         COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                     $731,684.01                               JURY DEMAND:         [x]Yes    DNo
    Vffl. RELATED CASE(S)
                           (See instructions):
          IF ANY                               JUDGE                                                                                           DOCKET NUMBER
    DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
    February 1, 2021                                                      /s/ Matthew L. Erlanger
    FOR OFFICE USE ONLY

      RECEIPT #                     AMOUNT                                    APPLYING IFF                                      JUDGE                          MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:21-cv-00455-CMR Document 1 Filed 02/01/21 Page 2 of 13
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must he checked. (See Section HI below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VTI.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.RXv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VHI. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
     numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
    Case 2:21-cv-00455-CMR Document 1 Filed 02/01/21 Page 3 of 13




Note:


This Designation Form must be signed before
submission to the Clerk’s Office or a case
number will not be assigned.
                            Case 2:21-cv-00455-CMR
                                               UNITED Document   1 Filed
                                                      STATES DISTRICT    02/01/21 Page 4 of 13
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                3311 U.S. 22, North Branch, NJ 08876
Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant: 400  Feheley Drive, King of Prussia, PA 19406/ 175 Berkeley Street, Boston, MA 02116
                      ____________________________________________________________________________________________
                                                          300 Longfellow Road, Wyncote, PA 19095
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No    O
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No    O
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No    O
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    O
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   O   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
       02/01/2021
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                  PA 306855
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                  
                                                                                            O    1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

           Matthew L. Erlanger
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

      
      O       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


       02/01/2021
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                  PA 306855
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
              Case 2:21-cv-00455-CMR Document 1 Filed 02/01/21 Page 5 of 13




                              UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VOLLERS EXCAVATING &                                       :
CONSTRUCTION, INC.                                         :
3311 U.S. 22                                               :
North Branch, NJ 08876                                     :
                                                           :    NO.
                                  Plaintiff,               :
                                                           :
                   v.                                      :
                                                           :
BORO DEVELOPERS, INC. d/b/a                                :
BORO CONSTRUCTION                                          :
400 Feheley Drive                                          :
King of Prussia, PA 19406                                  :
                                                           :
         and                                               :    JURY TRIAL DEMANDED
                                                           :
LIBERTY MUTUAL INSURANCE COMPANY                           :
175 Berkeley Street                                        :
Boston, MA 02116,                                          :
                                                           :
                                  Defendants.              :
                                                           :

                                               COMPLAINT

         Plaintiff, Vollers Excavating & Construction, Inc. (“Vollers”), by and through its

undersigned counsel, Cohen Seglias Pallas Greenhall & Furman, P.C., hereby files this Complaint

against Boro Developers, Inc. d/b/a Boro Construction (“Boro”) and Liberty Mutual Insurance

Company (“Liberty Mutual”) , and in support thereof avers the following:

                                                 Parties

         1.        Vollers is a New Jersey corporation with its principal place of business located at

3311 U.S. 22, North Branch, New Jersey 08876.

         2.        Upon information and belief, Boro is a Pennsylvania corporation with its principal

place of business located at 400 Feheley Drive, King of Prussia, Pennsylvania 19406.




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            Case 2:21-cv-00455-CMR Document 1 Filed 02/01/21 Page 6 of 13




       3.       Upon information and belief, Liberty Mutual is a Massachusetts corporation with

its principal place of business located at 175 Berkeley Street, Boston, Massachusetts 02116.

                                     Jurisdiction and Venue

       4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because

there is complete diversity of citizenship between the parties and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

       5.       Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to this claim occurred herein.

                                           Background

       6.       On or about March 9, 2016, the Cheltenham Township School District (the “School

District”) awarded to Boro the general construction contract and the electrical construction

contract on a project known as “Additions and Alterations to Cedarbrook Middle School” located

at 300 Longfellow Road, Wyncote, Cheltenham Township, Montgomery County, Pennsylvania

19095 (the “Project”).

       7.       The School District is a Pennsylvania school district organized and existing under

the Pennsylvania Public School Code of 1949, 24 P.S. § 1-101 et seq., with its principal place of

business located at 2000 Ashbourne Road, Elkins Park, Cheltenham Township, Montgomery

County, Pennsylvania 19027.

       8.        In order for Boro to complete its scope of work on the Project, Boro and Vollers

entered into a subcontract entitled Agreement Between Contractor and Subcontractor (the

“Subcontract”) and dated April 6, 2016, pursuant to which Boro agreed to pay Vollers

$3,467,00.00, and Vollers agreed to perform the site work on the Project, including site clearing;

earthwork; trenching, backfilling and compaction; soil erosion and sediment control; hot-mix



                                                 2
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asphalt paving; site unit pavers; pavement markings; tennis court surfacing; running track

surfacing; athletic equipment and site furnishings; segmented retaining; water distribution; testing

and disinfecting water mains; gravity wastewater sewer; sanitary utility sewerage structures; and

storm drainage (the “Base Contract Work”). A true and correct copy of the Subcontract is attached

hereto and incorporated herein as Exhibit A.

        9.        Under the Pennsylvania Public Works Contractors’ Bond Law of 1967, 8 P.S. §

191 et seq., Boro was obligated to furnish a payment bond to the District for the protection of those

providing labor and materials to the Project.

        10.       In order to fulfill this statutory obligation, on or about March 9, 2016, Boro and

Liberty Mutual entered into Payment Bond No. 019-053-402 (the “Bond”). A true and correct

copy of the Bond is attached hereto and incorporated herein as Exhibit B.

        11.       Pursuant to the terms of the Bond, Liberty Mutual agreed to be bound, jointly and

severally with Boro, to the obligations to make payment to claimants supplying labor or materials

to the Project.

        12.       During its performance of the Work on the Project, Vollers performed extra work

at Boro’s direction consisting of additional tree protection fence, widening of driveways, adding

100 linear feet of 15” HDPE pipe, additional water line revisions, undercutting unsuitable soil at a

retaining wall, backfilling undercuts with onsite material, installing geotextile fabric for undercuts,

installing structural fill at undercuts, transporting soils, footing backfills, and performing soil

erosion control, the value of which totaled $62,643.44.

        13.       Additionally, during the course of the Project, Vollers encountered contaminated

soils on the Project site, which constituted a differing site condition, for which Vollers is not

responsible under the Subcontract.



                                                   3
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         14.       As a result of the differing site condition, Vollers was unable to complete its work

on the Project in August 2017, as reflected in the Project schedule at the time Vollers executed the

Subcontract.

         15.      Moreover, as a result of the differing site condition, Vollers incurred $433,919.51

in additional labor and material costs.

         16.      Vollers faithfully performed the work of the Subcontract and provided all

documentation to receive payment for its work.

         17.      Vollers performed the last of its labor and/or furnished or supplied the material for

which it seeks payment on April 23, 2019.

         18.      Vollers’ work was complete and satisfactory.

         19.      Following completion of Vollers’ work, amounts remained due and owing on

account of the Base Contract Work and the extra work identified above.

         20.      These amounts remained due and owing for more than 90 days after completion of

Vollers’ work and, accordingly, on June 5, 2020, Vollers submitted a Notice of Claim to Liberty

Mutual, seeking payment in the amount of $1,091,796.13, inclusive of $436,486.36 in Base

Contract Work, the above-referenced amounts for extra work, as well as interest.1 A true and

correct copy of the Notice of Claim is attached hereto and incorporated herein as Exhibit C.

         21.      Following submission of Vollers’ Notice of Claim and, specifically, on July 22,

2020, Vollers and Liberty Mutual entered into a tolling agreement to extend the time for Vollers

to commence an action on the Bond, which agreement Vollers and Liberty Mutual further extended

on October 15, 2020, and January 4, 2021. A true and correct copy of the tolling agreement is


1
  In the Notice of Claim, Vollers included $76,034.55 in lost opportunity costs relating to Vollers additional labor and
materials on the Project between August 2017 and April 23, 2019. Because these lost opportunity costs do not
represent labor and materials incurred in performance of work on the Project, Vollers is removing $76,034.55 from
its damages.

                                                           4
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attached hereto and incorporated herein as Exhibit D. A true and correct copy of the October 15,

2020 email correspondence extending the tolling agreement to December 15, 2020 is attached

hereto and incorporated herein as Exhibit E. A true and correct copy of the January 4, 2021 email

correspondence extending the tolling agreement through January 14, 2021 is attached hereto and

incorporated herein as Exhibit F.

       22.     Based on its terms, within thirty days of the expiration of the tolling agreement,

Vollers is obligated to file its complaint seeking payment under the Bond, which obligation Vollers

is fulfilling through its filing of the instant complaint. (Ex. D).

       23.     In October 2020, Boro sent Vollers a check for $201,401.30, reducing the amount

due and owing on account of the Base Contract Work to $235,085.06 (the “Contract Balance”).

       24.     The School District paid Boro in full for the Contract Balance.

       25.     Despite Boro being paid in full for the Contract Balance, both Boro and Liberty

have failed and refused to provide payment for any amounts for the labor and materials that Vollers

provided to the Project that remain due and owing totaling $731,648.01, exclusive of interest, fees,

and costs.

                                            COUNT I
                                        Breach of Contract
                                          Vollers v. Boro

       26.     Vollers hereby incorporates the preceding paragraphs as if fully set forth herein.

       27.     On or about April 6, 2016, Vollers and Boro entered into the Subcontract for

Vollers to perform the site work on the Project. (Ex. A).

       28.     Vollers performed all of its work under the Subcontract, including all extra work

performed at the direction of Boro, in a good and workmanlike manner and in accordance with the

terms of the Subcontract.



                                                   5
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          29.   To date, despite Vollers’ repeated requests and demands, Boro has failed and

refused to pay Vollers for monies owed under the Subcontract.

          30.   Boro’s failure to make payment is in breach of the Subcontract.

          31.   As a direct and proximate result of Boro’s breach of the Subcontract, Vollers has

sustained damages in the amount of $731,648.01.

          WHEREFORE, Plaintiff Vollers Excavating & Construction, Inc. hereby respectfully

requests that this Honorable Court enter judgment in its favor and against Defendant Boro

Developers, Inc. d/b/a Boro Construction as to Count I of its Complaint in the amount of

$731,648.01 plus interest, costs, and such other and further relief as this Court deems just and

proper.

                                         COUNT II
                       Unjust Enrichment (In the Alternative to Count I)
                                      Vollers v. Boro

          32.   Vollers hereby incorporates the preceding paragraphs as if fully set forth herein.

          33.   Vollers provided labor, equipment and materials to the Project at the specific

request and benefit of Boro.

          34.   Boro has enjoyed the benefit and use of Vollers’ labor, materials and services.

          35.   Boro’s retention of costs associated with labor, equipment and materials supplied

by Vollers without compensating Vollers for the reasonable value for such items would be unjust.

          36.   The amount requested by Vollers is reasonable.

          37.   The reasonable value of the labor, materials, equipment and services provided by

Vollers to Boro that remains unpaid is $731,648.01.

          WHEREFORE, Plaintiff Vollers Excavating & Construction, Inc. hereby respectfully

requests that this Honorable Court enter judgment in its favor and against Defendant Boro



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Developers, Inc. d/b/a Boro Construction as to Count II of its Complaint in the amount of

$731,648.01 plus interest, costs, and such other and further relief as this Court deems just and

proper.

                                      COUNT III
       Violation of the Commonwealth Procurement Code, 62 Pa.C.S.A. § 3901 et seq.
                                    Vollers v. Boro

          38.   Vollers hereby incorporates the preceding paragraphs as if fully set forth herein.

          39.   The School District, the owner of the Project, is a “Government agency” within the

meaning of Section 3902 of the Commonwealth Procurement Code, 62 Pa.C.S.A. § 3902 (the

“Code”).

          40.   Boro is a “Contractor” as defined by the Code.

          41.   Vollers is a “Subcontractor” as defined by the Code.

          42.   Despite having received payment from the School District for the Contract Balance,

Boro has refused to make payment on account of any portion of the $235,085.06 for the Base

Contract Work due and owing to Vollers.

          43.   Instead, Boro has withheld these amounts without explanation irrespective of

Vollers’ satisfactory completion of its work on the Project, as evidenced by the School District

never having issued any notices of deficiency concerning Vollers’ work on the Project.

          44.   Boro’s refusal to make payment is in direct violation of the Code and such action

is arbitrary, vexatious, and in bad faith.

          45.   Boro’s refusal to pay Vollers for all labor and materials that Vollers provided to the

Project for which Boro has received payment violates the Code and entitles Vollers to recover




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statutory interest on the withheld balance, a penalty in the amount of one percent per month on all

such monies improperly withheld, and reasonable attorneys’ fees and costs.

          46.   The aforementioned damages will continue to accrue during the pendency of this

action.

          47.   Boro’s failure to pay Vollers in full for all labor and materials for which payment

has been made by the School District is in violation of the Code, entitling Vollers to interest,

penalties, and attorneys’ fees.

          WHEREFORE, Plaintiff Vollers Excavating & Construction, Inc. hereby respectfully

requests that this Honorable Court enter judgment in its favor and against Defendant Boro

Developers, Inc. d/b/a Boro Construction as to Count III of its Complaint in the amount of

$235,085.06 plus interest, penalty in the amount of 1% per month, costs of suit, attorneys’ fees,

and such other and further relief as this Court deems just and proper

                                          COUNT IV
                                   Breach of Bond Obligation
                                   Vollers v. Liberty Mutual

          48.   Vollers hereby incorporates the preceding paragraphs as if fully set forth herein.

          49.   The Bond obligates Liberty Mutual to satisfy Boro’s payment obligations to

Vollers.

          50.   Liberty Mutual is obligated to satisfy Boro’s payment obligations to Vollers

because Vollers has completed its performance and otherwise complied with the terms and

conditions of the Subcontract and the Bond.

          51.   It has been more than 90 days since Vollers’ last date of work, and Boro has not

made payment to Vollers.




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        52.     As a subcontractor to Boro that provided labor and materials to the Project, Vollers

is a claimant under the Bond and an intended beneficiary under the Bond both according to the

terms of the Bond and the Public Works Contractors’ Bond Law of 1967.

        53.     By letter dated June 5, 2020, Vollers provided Liberty Mutual with notice of its

claim and a statement of the amounts due.

        54.     The Notice of Claim set forth Vollers’ claim against Boro for labor and materials

provided to the Project on account of which $731,648.01 remains due and owing, exclusive of

interest, fees, and costs.

        55.     Liberty Mutual has refused to make payment for $731,648.01 for labor and

materials that Vollers provided to the Project.

        56.     As a direct and proximate cause of Liberty Mutual’s conduct, Vollers has sustained

damages in the amount of $731,648.01, plus interest and costs.

        WHEREFORE, Plaintiff Vollers Excavating & Construction, Inc. hereby respectfully

requests that this Honorable Court enter judgment in its favor and against Defendant Liberty

Mutual Insurance Company as to Count IV of its Complaint in the amount of $731,648.01 plus

interest, costs, and such other and further relief as this Court deems just and proper.

                                       Respectfully submitted,

                                         COHEN SEGLIAS PALLAS
                                         GREENHALL & FURMAN, P.C.

                                         BY: /s/ Matthew L. Erlanger
                                              GEORGE E. PALLAS, ESQUIRE
                                              MATTHEW L. ERLANGER, ESQUIRE
                                              Attorneys for Plaintiff Vollers Excavating &
                                              Construction, Inc.


Date: February 1, 2021



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